              Case 2:04-cr-00379-MCE Document 92 Filed 05/22/14 Page 1 of 1




1 BENJAMIN B. WAGNER
  United States Attorney
2 PHILLIP A. TALBERT
  First Assistant U.S. Attorney
3 501 I Street, Suite 10-100
  Sacramento, CA 95814
4 (916) 554-2700
  (916) 554-2900 FAX
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8                         IN THE UNITED STATES DISTRICT COURT
9                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )
                                            )
12                          Plaintiff,      ) CASE NO. 2:04-CR-379 MCE
                                            )
13   v.                                     ) ORDER RE GOVERNMENT’S REQUEST TO
                                            ) DISMISS THE CASE AS TO DEFENDANT
14   GILBERTO DE LA CRUZ,                   ) GILBERTO DE LA CRUZ
                                            )
15                          Defendant.      )
                                            )
16                                          )
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18             The government’s request to have the case against defendant
19   Gilberto De La Cruz dismissed is GRANTED.          The case against defendant
20   Gilberto De La Cruz is dismissed and the warrant is withdrawn.
21             IT IS SO ORDERED.
22   Dated:    May 21, 2014
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